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      BMW OF NORTH AMERICA, LLC and
  8   BAYERISCHE MOTOREN WERKE AG
  9
 10                        UNITED STATES DISTRICT COURT
 11                       CENTRAL DISTRICT OF CALIFORNIA
 12                                WESTERN DIVISION
 13
      BMW OF NORTH AMERICA, LLC, a              Case No.: 2:20-cv-08696
 14   Delaware limited liability company; and
      BAYERISCHE MOTOREN WERKE                  COMPLAINT FOR DAMAGES
 15   AG, a German corporation,
                                                (1) FEDERAL TRADEMARK
 16               Plaintiffs,                       INFRINGEMENT &
                                                    COUNTERFEITING [15 U.S.C. §
 17               v.                                1114/Lanham Act § 32(a)]
 18   INOVIT INC., a California corporation; (2) FALSE DESIGNATION OF
      WHEELS OUTLET USA LLC, a Florida           ORIGIN/UNFAIR
 19   limited liability company d/b/a INOVIT     COMPETITION [15 U.S.C. §
      EAST COAST; YINGSHEN (VICTOR)              1125(a)/Lanham Act § 43(a)]
 20   MAO, an individual; and DOES 1-10,
      inclusive,                             (3) TRADEMARK DILUTION [15
 21                                              U.S.C. § 1125(c)]
                    Defendants.
 22                                          (4) UNFAIR BUSINESS PRACTICES
                                                 [CALIFORNIA BUSINESS &
 23                                              PROFESSIONS CODE § 17200]
 24                                             (5) FEDERAL DESIGN PATENT
                                                    INFRINGEMENT [35 U.S.C. §
 25                                                 271]
 26                                             (6) BREACH OF SETTLEMENT
 27
                                                    AGREEMENT

 28
                                                 [DEMAND FOR JURY TRIAL]

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                                COMPLAINT FOR DAMAGES
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  1         Plaintiffs BMW of North America, LLC (“BMW NA”) and Bayerische
  2   Motoren Werke AG (“BMW AG”) (collectively “BMW” or “Plaintiffs”) hereby file
  3   their Complaint for Damages (“Complaint”) against Defendants Inovit Inc.
  4   (“INOVIT”), Wheels Outlet USA LLC (“WHEELS OUTLET USA”), YingShen
  5   (Victor) Mao (“MAO”), and Does 1-10, inclusive (collectively “Defendants”).
  6                                         PARTIES
  7         1.     Plaintiff BMW NA is a Delaware limited liability company registered
  8   to conduct business in the State of California with its principal place of business
  9   located in Woodcliff Lake, New Jersey. BMW NA is a wholly owned subsidiary of
 10   BMW (US) Holding Corporation, a Delaware corporation, which is a wholly owned
 11   subsidiary of BMW AG. BMW NA is the exclusive authorized distributor of
 12   “BMW”, “BMW M” and “MINI” automotive and related products in the United
 13   States.
 14         2.     Plaintiff BMW AG is a German corporation organized under the laws
 15   of the Federal Republic of Germany with its principal place of business located in
 16   Munich, Germany. BMW AG manufactures motor vehicles, emblems, wheels,
 17   grilles, and other parts in Germany and other countries for export and sale throughout
 18   the world.
 19         3.     Plaintiffs are informed and believe, and on that basis allege, that
 20   Defendant INOVIT is a California corporation with a principal place of business
 21   located in El Monte, California.
 22         4.     Plaintiffs are informed and believe, and on that basis allege, that
 23   Defendant WHEELS OUTLET USA is a Florida limited liability company doing
 24   business as INOVIT EAST COAST with a principal place of business located in
 25   Tampa, Florida.
 26         5.     Plaintiffs are informed and believe, and on that basis allege, that
 27   Defendants INOVIT and WHEELS OUTLET USA did not and do not have
 28   sufficient funding to assume responsibility for their actual and foreseeable liabilities.
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                                COMPLAINT FOR DAMAGES
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  1         6.     Plaintiffs are informed and believe, and on that basis allege, that
  2   Defendants INOVIT and WHEELS OUTLET USA are undercapitalized.
  3         7.     Plaintiffs are informed and believe, and on that basis allege, that
  4   Defendants INOVIT and WHEELS OUTLET USA have failed to observe corporate
  5   formalities required by law.
  6         8.     Plaintiffs are informed and believe, and on that basis allege, that
  7   Defendants INOVIT and WHEELS OUTLET USA are the alter ego of Defendant
  8   MAO.
  9         9.     Plaintiffs are informed and believe, and on that basis allege, that
 10   Defendant MAO is an individual residing in and conducting business from Los
 11   Angeles County, California.
 12         10.    Plaintiffs are informed and believe, and on that basis allege, that
 13   Defendant MAO is an owner, operator, member, officer and manager of Defendants
 14   INOVIT and WHEELS OUTLET USA, and the moving force behind the actions of
 15   Defendants INOVIT and WHEELS OUTLET USA complained of herein.
 16         11.    Plaintiffs are informed and believe, and on that basis allege, that
 17   Defendants INOVIT, WHEELS OUTLET USA, MAO, and Does 1-10, inclusive,
 18   and each of them, were the agents, partners, joint venturers, servants, and employees
 19   of every other defendant and the acts of each defendant, as alleged herein, were
 20   performed within the course and scope of that agency, partnership, joint venture,
 21   service or employment.
 22         12.    Plaintiffs are informed and believe, and on that basis allege, that
 23   Defendants INOVIT, WHEELS OUTLET USA, MAO, and Does 1-10, inclusive,
 24   sued herein by fictitious names, are jointly, severally and concurrently liable and
 25   responsible with one another upon the causes of action hereinafter set forth.
 26         13.    The true names and capacities, whether individual, corporate, associate
 27   or otherwise, of defendants herein identified as Does 1-10, inclusive, are unknown
 28   to Plaintiffs. Plaintiffs therefore sue said Doe defendants by such fictitious names,
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                               COMPLAINT FOR DAMAGES
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  1   and when the true names and capacities of said Doe defendants are ascertained,
  2   Plaintiffs will seek to amend this pleading accordingly.
  3                               JURISDICTION / VENUE
  4         14.    This Court has subject matter jurisdiction over this action pursuant to
  5   the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. §§ 1331 and/or 1338(a), and
  6   supplemental jurisdiction over Plaintiffs’ state law claim pursuant to 28 U.S.C. §§
  7   1367(a) and 1338(b).
  8         15.    This Court has general personal jurisdiction over Defendants INOVIT
  9   and MAO inasmuch as INOVIT is a California corporation, and MAO is an
 10   individual residing in and conducting business from the State of California.
 11         16.    This Court has specific personal jurisdiction over Defendant WHEELS
 12   OUTLET USA inasmuch as it has committed the tortious activities of trademark
 13   infringement and design patent infringement alleged in this Complaint by
 14   purposefully directing its infringement activities to retailers/buyers in the State of
 15   California. Defendant WHEELS OUTLET USA has sufficient minimum contacts
 16   with California such that the exercise of jurisdiction over it by this Court does not
 17   offend traditional notions of fair play and substantial justice.
 18         17.    In addition, Plaintiff BMW NA has significant contacts with the State
 19   of California. For example, Plaintiff BMW NA’s Technology Office, Western
 20   Region Office, Group Representative Office, Engineering and Emission Test Center,
 21   and Training Center are all located in California. In addition, Plaintiff BMW NA
 22   operates a Vehicle Distribution Center (one of four) and Parts Distribution Centers
 23   (two of six) in California. Plaintiff BMW NA also has more than fifty (50)
 24   dealerships throughout the State of California.
 25         18.    Venue is proper in this district, inter alia, pursuant to 28 U.S.C. §
 26   1391(b) because, Plaintiffs are informed and believe, and on that basis allege, that a
 27   substantial part of the events or omissions giving rise to these claims occurred within
 28   this District, and has caused damage to Plaintiffs in this District.
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  1                              GENERAL ALLEGATIONS
  2               Plaintiffs and the Famous BMW Trademarks and Products
  3         19.     Plaintiffs are in the business of designing, manufacturing, and
  4   distributing motor vehicles, motor vehicle parts and accessories, sold under various
  5   trademarks, including but not limited to:
  6                 a.    the “BMW” word mark, the BMW logo and BMW model names,
  7   such as 3 SERIES, 5 SERIES, and 7 SERIES (collectively “BMW Marks”); and
  8                 b.    the M logo and M model names such as M2, M3, M4, M5, and
  9   M6 (collectively “BMW M Marks”).
 10         20.     Plaintiffs’ products and marks have achieved great success since their
 11   introduction in commerce in the United States continuously since as early as 1955
 12   for the BMW brand and since as early as 1987 for the BMW M brand.
 13         21.     BMW also provides numerous services, such as maintenance and repair
 14   services, financing, leasing, insurance and warranty services. BMW also sells a wide
 15   variety of merchandise bearing the BMW and BMW M Marks, including but not
 16   limited to apparel, mugs, bags, toys, pens and watches. BMW has manufactured,
 17   marketed and sold millions of vehicles in the United States.
 18         22.     Plaintiffs have for decades utilized a network of authorized dealers in
 19   the United States to market both new and certified pre-owned BMW and BMW M
 20   vehicles, vehicle parts, accessories, and merchandise, and services such as rental,
 21   financing, and maintenance services. BMW currently has more than 340 authorized
 22   dealers in the United States.
 23         23.     Plaintiffs’ commercial success under the BMW and BMW M Marks in
 24   the United States and around the world has been tremendous. Plaintiffs have sold
 25   many billions of dollars of products and services under the BMW and BMW M
 26   Marks in the United States over the years. Plaintiffs’ motor vehicles and related
 27   motor vehicle parts and accessories have earned a reputation for innovation, quality
 28   and performance and have won numerous awards in the industry in the United States
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  1   and around the world.
  2         24.    Plaintiffs have spent substantial time, money and effort in developing
  3   consumer recognition and awareness of their marks and products. Plaintiffs spend
  4   tens of millions of dollars every year in the United States to extensively advertise,
  5   market, and promote products and services offered under the BMW and BMW M
  6   Marks through a variety of media, including television and print advertisements, the
  7   Internet, and high-profile sponsorships.
  8         25.    As a result of Plaintiffs’ efforts, the quality of Plaintiffs’ products, the
  9   high degree of promotion and the quality and popularity of the Plaintiffs’ products,
 10   the BMW and BMW M Marks have been prominently placed in the minds of the
 11   public. Consumers, purchasers and the members of the public have become familiar
 12   with Plaintiffs’ intellectual property and products, and have come to recognize the
 13   BMW and BMW M Marks, and products and associate them exclusively with
 14   Plaintiffs. Plaintiffs have acquired a valuable reputation and goodwill among the
 15   public as a result of such association. Indeed, the Plaintiffs’ BMW Marks are famous
 16   in the United States and around the world.
 17         26.    In use in the United States since 1955, the BMW Marks, in particular,
 18   enjoy unquestionable fame as a result of long use, extensive advertising, massive
 19   commercial success, substantial publicity, and favorable public acceptance and
 20   recognition. Indeed, the BMW Marks have become among the most recognized
 21   brands in the world, and have consistently been ranked in many top-100 lists for
 22   years, including No. 22 in “100-top Most Powerful Brands” by Tenet Partners in
 23   2017, No. 20 in “The World’s Most Valuable Brands” by Forbes in 2018, and No.
 24   13 in “Best Global Brands” by Interbrand in 2018, among many others.
 25         27.    Furthermore, federal district courts have recognized that the BMW
 26   Marks are famous. See BMW of N. Am., LLC v. Eurotech Wheels, LLC, No. 08 CV
 27   0171 JM (WMC), 2008 WL 11337018, at *1 (S.D. Cal. July 25, 2008) (finding that
 28   the BMW Word Mark and BMW Logo are both famous); BMW of N. Am., LLC v.
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  1   Quality Star Benzz LLC, No. 2:12-CV-00889-GMN, 2013 WL 1338233, at *1 (D.
  2   Nev. Mar. 29, 2013) (“BMW NA has expended millions of dollars in advertising
  3   across the United States in connection with its Marks [including the BMW Logo]
  4   making them famous.”).
  5                         BMW AG’s Registered Trademarks
  6         28.    Although Plaintiffs have gained significant common law trademark
  7   rights based on their use in commerce of the BMW and BMW M Marks, advertising
  8   and promotion, Plaintiffs have also protected their valuable rights by filing for and
  9   obtaining numerous federal trademark registrations.
 10         29.    Plaintiff BMW AG is the exclusive owner of numerous federally
 11   registered and common law trademarks.
 12         30.    Plaintiff BMW AG owns United States Patent and Trademark Office
 13   (“U.S.P.T.O.”) certificates of registrations for the following BMW and BMW M
 14   Marks relevant to this action (collectively the “BMW Trademarks”).
 15
 16            Mark             Reg. No.                 Goods and Services
                                Reg. Date                   (Summary)
 17
                  BMW           0611710       Automobiles, motorcycles.
 18
                                9-6-1955
 19
                  BMW           2816178    Floor mats for vehicles in class 27;
 20                             02-24-2004 Various goods in classes 1, 2, 3, 4, 5, 6, 7,
                                           8, 9, 11, 12, 16, 18, 20, 21, 22, 24, 25, and
 21
                                           28.
 22
                  BMW          5333863    Metal badges and plates in class 06;
 23                            11-14-2017 Various land vehicle engine parts in class
                                          07;
 24
                                          Lights for vehicles and other goods in class
 25                                       11;
                                          Land vehicles and various parts and
 26
                                          accessories for land vehicles, including
 27                                       structural parts, side grills being vehicle
 28
                                          trim, badges, wheels, hubcaps, valve stem
                                          caps and other goods in class 12;
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  1           Mark           Reg. No.                Goods and Services
                             Reg. Date                  (Summary)
  2
                                          Pens, pencils, notepads, notebooks, decals,
  3
                                          adhesive labels, and adhesive stickers, and
  4                                       other goods; boxes, namely, stationery
                                          boxes, cardboard boxes and paper boxes;
  5
                                          shopping bags made of paper or cardboard,
  6                                       and containers, storage containers and
                                          packaging containers made of paper or
  7
                                          cardboard; merchandise bags made of
  8                                       paper or cardboard and other goods in class
                                          16;
  9
                                          Floor mats for vehicles in class 27;
 10                                       Toy products in class 28.
 11                          613465       Automobiles, motorcycles and parts
                             10-4-1955    thereof.
 12
 13
 14                          1450212      Apparatus for lighting for use in the
                             8-4-1987     automotive industry in class 11;
 15
                                          Land vehicles and parts thereof in class 12;
 16                                       (Various other goods and services in
                                          Classes 1, 2, 3, 4, 5, 6, 8, 9, 11, 12, 14, 16,
 17
                                          18, 20, 21, 24, 25, 26, 28, 34, 35, 36, 37,
 18                                       39, and 41.)
 19                          5333865    Land vehicles and parts thereof in class 12;
 20
                             11-14-2017 Floor mats for vehicles, rubber mats, and
                                        carpeting for automobiles in class 27;
 21                                     Various other goods and services in classes
 22
                                        6, 7, 11, 16, and 28.

 23
                             4293991      Automobiles, motorcycles and sports
                             2-26-2013    utility vehicles and their parts namely
 24                                       structural parts, engines, wheels,
 25                                       transmissions, windshields, differentials,
                                          fenders, drive belts, gears, axles, brakes
 26                                       and braking systems, chassis, badges,
 27                                       bumpers, vehicle seats, trunks, side
                                          mirrors, rear view mirrors, steering wheels,
 28                                       shock absorbers, safety belts, rims for
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                            COMPLAINT FOR DAMAGES
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  1           Mark           Reg. No.                Goods and Services
                             Reg. Date                  (Summary)
  2
                                          vehicle wheels, anti-theft devices for
  3
                                          vehicles (among other goods in Class 12).
  4
                             5333900      Metal badges and plates in class 06;
  5                          11-14-2017   Various land vehicle engine parts in class
                                          07;
  6
                                          Lights for vehicles and other goods in class
  7                                       11;
                                          Land vehicles and various parts and
  8
                                          accessories for land vehicles, including
  9                                       structural parts, side grills being vehicle
                                          trim, badges, wheels, hubcaps, valve stem
 10
                                          caps and other goods in class 12;
 11                                       Pens, pencils, notepads, notebooks, decals,
                                          adhesive labels, and adhesive stickers, and
 12
                                          other goods; boxes, namely, stationery
 13                                       boxes, cardboard boxes and paper boxes;
                                          shopping bags made of paper or cardboard,
 14
                                          and containers, storage containers and
 15                                       packaging containers made of paper or
                                          cardboard; merchandise bags made of
 16
                                          paper or cardboard and other goods in class
 17                                       16;
 18
                                          Floor mats for vehicles in class 27;
                                          Toy products in class 28.
 19
                             5333899      Metal badges and plates in class 06;
 20                          11-14-2017   Various land vehicle engine parts in class
 21
                                          07;
                                          Lights for vehicles and other goods in class
 22                                       11;
 23                                       Land vehicles and various parts and
                                          accessories for land vehicles, including
 24                                       structural parts, side grills being vehicle
 25                                       trim, badges, wheels, hubcaps, valve stem
                                          caps and other goods in class 12;
 26                                       Pens, pencils, notepads, notebooks, decals,
 27                                       adhesive labels, and adhesive stickers, and
                                          other goods; boxes, namely, stationery
 28                                       boxes, cardboard boxes and paper boxes;
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   1           Mark           Reg. No.                Goods and Services
                              Reg. Date                  (Summary)
   2
                                           shopping bags made of paper or cardboard,
   3
                                           and containers, storage containers and
   4                                       packaging containers made of paper or
                                           cardboard; merchandise bags made of
   5
                                           paper or cardboard and other goods in class
   6                                       16;
                                           Floor mats for vehicles in class 27;
   7
                                           Toy products in class 28.
   8
                              1438545      Automobiles.
   9                          05-05-1987
  10
                              2683597    Floor mats and trunk mats in class 27;
  11
                              02-04-2003 Various other goods in class 12 and 25.
  12
  13                          3526899      Automobiles and their structural parts;
                              11-4-2008    parts of automobiles, namely, engines,
  14
                                           wheels, steering wheels, door sills, gear
  15                                       shift knobs, headrests, seats, tire valve stem
                                           caps, license plate frames, car badges;
  16
                                           automotive body kits comprising external
  17                                       structural parts of automobiles (class 12);
                                           Various goods in classes 06, 14, 18, 25,
  18
                                           and 28.
  19
                              3767662      Motor vehicles being land vehicles and
  20                          3-30-2010    their parts, namely, wheels, steering
  21
                                           wheels, door sills being strips of metal
                                           affixed to the automobile sill, gear shift
  22                                       knobs, headrests, seats, tire valve stem
  23
                                           caps, license plate frames, badges for
                                           motor vehicles being trim; automotive
  24                                       body kits comprising external structural
  25                                       parts of automobiles; engines for motor
                                           vehicles (class 12);
  26                                       Jewelry, in particular key rings of precious
  27                                       metal; horological and chronometric
                                           instruments (class 14);
  28

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   1           Mark           Reg. No.                Goods and Services
                              Reg. Date                  (Summary)
   2
                                           Adhesive paper badges and stickers of
   3
                                           paper or plastic; various other goods in
   4                                       class 16;
                                           Various other goods and services in classes
   5
                                           7, 18, 25, 28, 37 and 41.
   6
                              3767663      Motor vehicles being land vehicles and
   7                          3-30-2010    their parts, namely, wheels, steering
                                           wheels, door sills being strips of metal
   8
                                           affixed to the automobile sill, gear shift
   9                                       knobs, headrests, seats, tire valve stem
                                           caps, license plate frames, badges for
  10
                                           motor vehicles being trim; automotive
  11                                       body kits comprising external structural
                                           parts of automobiles; engines for motor
  12
                                           vehicles (class 12);
  13                                       Jewellery, in particular key rings of
                                           precious metal; horological and
  14
                                           chronometric instruments (class 14);
  15                                       Adhesive paper badges and stickers of
                                           paper or plastic; various other goods in
  16
                                           class 16;
  17                                       Various other goods and services in classes
  18
                                           7, 18, 25, 28, 37 and 41.

  19
                              5522663      Automobiles and their structural parts;
                              7-24-2018    bicycles; parts of automobiles, namely,
  20                                       engines, wheels, steering wheels, door sills
  21
                                           being strips of metal affixed to the
                                           automobile sill, gear shift knobs, headrests,
  22                                       seat, tire valve steam caps, license plate
  23                                       frames, car badges, namely, vehicle
                                           identification badges and automobile hood
  24                                       ornaments; automotive body kits
  25                                       comprising external structural parts of
                                           automobiles (class 12);
  26                                       Floor mats in class 27;
  27                                       Various other goods and services in classes
                                           7, 9, 14, 16, 18, 25, 28, 35, 37 and 41.
  28

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                             COMPLAINT FOR DAMAGES
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   1            Mark              Reg. No.                 Goods and Services
                                  Reg. Date                   (Summary)
   2
                   M2            3988515        Automobiles and structural parts therefor
   3
                                 7-5-2011       in class 12.
   4
                   M3            2535373        Passenger motor vehicles and structural
   5                             2-5-2002       parts therefore in class 12.
   6               M4            5425915        Automobiles in class 12.
                                 3-20-2018
   7
                   M5            2381292        Passenger motor vehicles and structural
   8
                                 8-29-2000      parts therefore in class 12.
   9
                   M6            3265555        Motor vehicles and structural parts therefor
  10                             7-17-2007      in class 12;
                                                Various other goods and services in classes
  11
                                                16 and 28.
  12
  13         31.    The federal trademark registrations listed above are prima facie
  14   evidence of BMW’s ownership and the validity of those registered trademarks.
  15   Further, many of these registrations are incontestable, and thus constitute conclusive
  16   evidence of BMW’s exclusive right to use those marks for the products and/or
  17   services specified in those registrations pursuant to 15 U.S.C. §§1065 and 1115(b).
  18         32.    Plaintiff BMW AG owns the BMW Trademarks.
  19         33.    Plaintiff BMW AG has authorized and consented to Plaintiff BMW
  20   NA’s use of the BMW Trademarks in the United States.
  21         34.    Plaintiffs have never authorized or consented to Defendants’ use of the
  22   BMW Trademarks in commerce, or any confusingly similar marks by Defendants.
  23                        BMW AG’s Registered Design Patents
  24         35.    Plaintiff BMW AG, as one of the foremost designers and
  25   manufacturers of automobiles and automobile related products, is one of the largest
  26   producers of automobile wheels in the world, and the exclusive owner of numerous
  27   federally registered design patents for wheels.
  28   ///

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   1         36.    Plaintiff BMW AG owns various valid and lawfully issued United
   2   States Design Patents, including but not limited to wheel design patent nos.:
   3   D696,178; D792,315; D560,585; D758,943; D748,560; D615,018; D671,473;
   4   D686,128; D826,128; D630,564; D661,239; D621,770; D697,007; and D686,130
   5   (collectively the “BMW Design Patents”).
   6                               Defendants’ Infringing Conduct
   7         37.    Beginning on a date that is unknown to Plaintiffs and continuing to the
   8   present, Plaintiffs are informed and believe, and on that basis allege, that Defendants
   9   have, without the consent of Plaintiffs, imported, offered for sale, sold and
  10   distributed infringing replica BMW wheels to consumers that were publicly
  11   displayed and sold using the BMW Trademarks in advertising, and that embody the
  12   BMW Design Patents, that were not manufactured by Plaintiffs or any manufacturer
  13   authorized by Plaintiffs.
  14         38.    On December 31, 2015, Plaintiffs and Defendant INOVIT entered into
  15   a Settlement Agreement to resolve Plaintiffs’ prior claims against Defendant
  16   INOVIT stemming from its purchasing, importing, offering for sale, sale, and
  17   distribution of counterfeit, pirated, infringing or otherwise unauthorized automobile
  18   wheel rims embodying and comprised of BMW’s design patents with counterfeit
  19   center caps and badges bearing BMW’s trademarks in the case BMW of North
  20   America, LLC, et al. v. Autosports European, et al., Case No.: 2:14-cv-07961 SJO
  21   (PJWx) filed in the United States District Court for the Central District of California.
  22         39.    On January 29, 2016, the Court entered a Permanent Injunction against
  23   Defendant INOVIT pursuant to the December 31, 2015 Settlement Agreement
  24   entered into between Plaintiffs and Defendant INOVIT [ECF Dkt. 82, BMW of North
  25   America, LLC, et al. v. Autosports European, et al.].
  26         40.    On or about October 2, 2018, U.S. Customs and Border Protection
  27   seized 468 labels and emblems bearing BMW Trademarks at the Port of Entry in
  28   Tampa, Florida being imported into the United States by WHEELS OUTLET, 8455
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   1   E. ADAMO DR., TAMPA, FL 336191.
   2          41.    On May 28, 2019, Plaintiffs’ put Defendant WHEELS OUTLET USA
   3   on written notice of infringement stemming from its importation of counterfeit labels
   4   and emblems bearing BMW Trademarks.
   5          42.    On May 28, 2019, Plaintiffs’ also put Defendant INOVIT on written
   6   notice of breach of the December 15, 2015 Settlement Agreement between the
   7   parties and violation of the Permanent Injunction stemming from Defendant
   8   WHEELS OUTLET USA’s importation of counterfeit labels and emblems bearing
   9   BMW Trademarks from China.
  10          43.    Plaintiffs are informed and believe, and on that basis allege, that despite
  11   prior warning Defendants continue to import infringing replica BMW wheels into
  12   the United States that embody and are comprised of BMW Design Patents.
  13          44.    Plaintiffs are informed and believe, and on that basis allege, that
  14   Defendants solicit business from automobile wheel retailers and resellers – including
  15   but not limited to automobile wheel retailers and resellers residing in and/or
  16   conducting business from the State of California and within this District – via e-mail
  17   from “Inovit Wheels <wheelsinventory8@gmail.com>” by sending a catalog of
  18   their Replica Inventory that is accessible to potential purchasers through a link.
  19          45.    Plaintiffs are informed and believe, and on that basis allege, that
  20   Defendants require their customers to complete a Customer Profile, and an
  21   Application Agreement in order for Defendants to ship any wheels sold.
  22          46.    Plaintiffs are informed and believe, and on that basis allege, that
  23   Defendants set venue for any litigation arising from disputes arising under the terms
  24   of their own Application Agreement with customers in Los Angeles, Orange, or San
  25   Bernardino counties.
  26
  27
  28   1
        Plaintiffs’ received notice of this seizure by U.S. Customs and Border Protection in a seizure
       notice dated October 10, 2018 (FPF Case Number: 2019180100000101).
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                                   COMPLAINT FOR DAMAGES
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   1         47.    Plaintiffs are informed and believe, and on that basis allege, that
   2   Defendants regularly and systematically advertised, marketed, distributed and sold
   3   a presently unknown quantity of automobile wheels embodying and comprised of
   4   BMW Design Patents and using BMW Trademarks in advertising.
   5         48.    Plaintiffs are informed and believe, and on that basis allege, that
   6   through such business activities, Defendants have purposefully derived benefit from
   7   their interstate commerce activities by expressly targeting foreseeable purchasers in
   8   the State of California and throughout the United States.
   9         49.    Plaintiffs are informed and believe, and on that basis allege, that
  10   Defendants violated and continue to violate Plaintiffs’ exclusive rights to the BMW
  11   Trademarks and use images and marks that are identical to and/or confusing similar
  12   to the BMW Trademarks to confuse consumers and aid in the promotion and sale of
  13   infringing replica BMW wheel rims.
  14         50.    Plaintiffs are informed and believe, and on that basis allege, that
  15   Defendants’ infringing uses of BMW Trademarks and BMW Design Patents in
  16   commerce began long after Plaintiffs’ adoption and use of the BMW Trademarks
  17   and BMW Design Patents, after Plaintiffs obtained the trademark and design patent
  18   registrations alleged above, and after the BMW Trademarks became famous. Neither
  19   Plaintiffs nor any of Plaintiffs’ authorized agents have consented to Defendants’ use
  20   of Plaintiffs’ BMW Trademarks or BMW Design Patents.
  21         51.    Plaintiffs are informed and believe, and on that basis allege, that despite
  22   their prior Settlement Agreement with Defendant INOVIT and written notice to
  23   Defendants to cease and desist from further dealings in infringing products bearing
  24   BMW Trademarks and/or embodying BMW Design Patents, Defendants continue
  25   to violate Plaintiffs’ exclusive rights in and to the BMW Trademarks and BMW
  26   Design Patents.
  27         52.    Plaintiffs are informed and believe, and on that basis allege, that
  28   Defendants’ actions were committed intentionally, in bad faith and with the intent
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   1   to dilute Plaintiffs’ marks, and to cause confusion and mistake, and to deceive the
   2   consuming public and the public at large as to the source, sponsorship and/or
   3   affiliation of Defendants. Through their wrongful conduct, Defendants have directly
   4   traded upon and diminished Plaintiffs’ goodwill.
   5         53.    In committing these acts, all of which have and will continue to cause
   6   irreparable harm to Plaintiffs, Plaintiffs are informed and believe, and on that basis
   7   allege, that Defendants have, among other things, willfully and in bad faith: (i)
   8   infringed, tarnished, diluted Plaintiffs’ rights in the BMW Trademarks and BMW
   9   Design Patents; (ii) used counterfeit BMW Trademarks; (iii) misled the public into
  10   believing there is an association or connection between Defendants and Plaintiffs
  11   and/or the products advertised and sold by Defendants and Plaintiffs; (iv) misled the
  12   public into believing that Plaintiffs endorse Defendants products; (v) used false
  13   designations of origin on or in connection with its goods and services; (vi) infringed
  14   upon the BMW Design Patents; and (vii) profited unfairly from such activity. Unless
  15   enjoined, Defendants will continue to cause irreparable harm to Plaintiffs.
  16                              FIRST CAUSE OF ACTION
  17     (Infringement of Registered Trademarks & Counterfeiting by Defendants
  18   INOVIT INC., WHEELS OUTLET USA LLC d/b/a INOVIT EAST COAST,
  19         YINGSHEN (VICTOR) MAO, and DOES 1 through 10, Inclusive)
  20                         [15 U.S.C. § 1114/Lanham Act § 32(a)]
  21         54.    Plaintiffs hereby incorporate by reference each of the other allegations
  22   set forth elsewhere in this Complaint as though fully set forth in this cause of action.
  23         55.    Plaintiffs have continuously used the BMW Trademarks in interstate
  24   commerce.
  25         56.    Plaintiff BMW AG, as the exclusive owner of all right, title and interest
  26   in and to the BMW Trademarks, and Plaintiff BMW NA as an authorized licensee
  27   to use the BMW Trademarks in the United States with consent from Plaintiff BMW
  28   AG, have standing to maintain an action for trademark infringement under 15 U.S.C.
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                                 COMPLAINT FOR DAMAGES
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   1   §1114.
   2         57.    Defendants did not and failed to obtain the consent or authorization of
   3   Plaintiffs as the registered owners of the BMW Trademarks to deal in and
   4   commercially import, sell and/or distribute products bearing the BMW Trademarks
   5   in commerce.
   6         58.    Plaintiffs are informed and believe, and on that basis allege, that
   7   Defendants are and at the time of their actions complained of herein were actually
   8   aware that Plaintiffs are the registered trademark holders of the BMW Trademarks.
   9         59.    Plaintiffs are informed and believe, and on that basis allege, that
  10   Defendants intentionally and knowingly used in commerce reproductions,
  11   counterfeits, copies and/or colorable imitations of Plaintiffs’ BMW Trademarks to
  12   offer for sale, sell and distribute counterfeit goods bearing BMW Trademarks to
  13   consumers online.
  14         60.    Plaintiffs are informed and believe, and on that basis allege, that
  15   Defendants imported, transported, offered for sale, sold and distributed counterfeit
  16   goods bearing Plaintiffs’ BMW Trademarks in commerce in connection with the
  17   sale, offering for sale, distribution, and/or advertising of counterfeit goods bearing
  18   Plaintiffs’ BMW Trademarks.
  19         61.    Plaintiffs are informed and believe, and on that basis allege, that
  20   Defendants’ egregious and intentional importation, sale and/or distribution of
  21   counterfeit goods bearing Plaintiffs’ BMW Trademarks is likely to cause confusion,
  22   or to cause mistake, or to deceive, mislead, betray, and defraud consumers who
  23   believe that Defendants’ items are authentic products manufactured by Plaintiffs
  24   and/or authorized manufacturers.
  25         62.    Plaintiffs are informed and believe, and on that basis allege, that
  26   Defendants’ acts have been committed with knowledge of Plaintiffs’ exclusive rights
  27   and goodwill in the BMW Trademarks, as well as with bad faith and the intent to
  28   cause confusion or to cause mistake and to deceive.
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   1           63.   Plaintiffs are informed and believe, and on that basis allege, that
   2   Plaintiffs have suffered and will continue to suffer substantial and irreparable injury,
   3   loss and damage to their rights in and to the BMW Trademarks and the goodwill
   4   associated therewith, for which it has no adequate remedy at law; thus, Plaintiffs
   5   request injunctive relief.
   6           64.   Plaintiffs are informed and believe, and on that basis allege, that
   7   Defendants’ continued knowing and willful importation, sale and distribution of
   8   goods bearing Plaintiffs’ BMW Trademarks without Plaintiffs’ consent or
   9   authorization constitutes intentional infringement of Plaintiffs’ federally registered
  10   trademarks in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114. Based
  11   on such conduct, Plaintiffs are entitled to injunctive relief as well as monetary
  12   damages, and other remedies provided by section 1116, 1117, and 1118, including
  13   Defendants’ profits, treble damages, reasonable attorneys’ fees, costs, statutory
  14   damages and/or prejudgment interest.
  15                                SECOND CAUSE OF ACTION
  16         (False Designation of Origin & Unfair Competition against Defendants
  17   INOVIT INC., WHEELS OUTLET USA LLC d/b/a INOVIT EAST COAST,
  18          YINGSHEN (VICTOR) MAO, and DOES 1 through 10, Inclusive)
  19                         [15 U.S.C. § 1125(a)/Lanham Act § 43(a)]
  20           65.   Plaintiffs hereby incorporate by reference each of the other allegations
  21   set forth elsewhere in this Complaint as though fully set forth in this cause of action.
  22           66.   Plaintiffs, as the owners of all common law right, title, and interest in
  23   and to the BMW Trademarks, have standing to maintain an action for false
  24   designation of origin and unfair competition under Section 43(a) of the Lanham Act
  25   (15 U.S.C. § 1125).
  26           67.   Plaintiffs’ BMW Trademarks are inherently distinctive and/or have
  27   otherwise acquired distinctiveness.
  28   ///
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   1             68.   Plaintiffs are informed and believe, and on that basis allege, that
   2   Defendants have without authorization, on or in connection with its goods and
   3   services, used in commerce marks that are confusingly similar to the asserted marks,
   4   and/or have made false designations of origin which are likely to cause confusion or
   5   cause mistake or to deceive as to the affiliation, connection or association of
   6   Defendants with Plaintiffs, and/or as to the origin, sponsorship or approval of
   7   Defendants’ goods or services or commercial activities.
   8             69.   Plaintiffs are informed and believe, and on that basis allege, that
   9   Defendants’ conduct described above violates the Lanham Act, and Defendants have
  10   unfairly competed with and injured and, unless immediately restrained, will continue
  11   to injure Plaintiffs, causing damage to Plaintiffs in an amount to be determined at
  12   trial, and will cause irreparable injury to Plaintiffs’ goodwill and reputation
  13   associated with the value of Plaintiffs’ marks.
  14             70.   Plaintiffs are informed and believe, and on that basis allege, that the
  15   conduct of Defendants has been knowing, deliberate, willful, intended to cause
  16   confusion, or to cause mistake or to deceive and in blatant disregard of Plaintiffs’
  17   rights.
  18             71.   Plaintiffs are informed and believe, and on that basis allege, that
  19   Defendants knew, or by the exercise of reasonable care should have known, that
  20   their adoption and commencement of use in commerce and continuing use of marks
  21   that are confusingly similar to and constitute a counterfeit reproduction of Plaintiffs’
  22   BMW Trademarks would cause confusion, mistake, or deception among purchasers,
  23   users and the public.
  24             72.   Plaintiffs are informed and believe, and on that basis allege, that
  25   Defendants’ egregious and intentional use, sale and distribution of fake, pirated and
  26   counterfeit automobile products bearing Plaintiffs’ BMW Trademarks unfairly
  27   competes with Plaintiffs and is likely to cause confusion, mistake, or to deceive,
  28   mislead, betray, and defraud consumers to believe that the substandard imitations
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   1   are genuine BMW products.
   2         73.    Plaintiffs are informed and believe, and on that basis allege, that
   3   Defendants’ continuing and knowing use of BMW Trademarks constitutes false
   4   designation of origin and unfair competition in violation of Section 43(a) of the
   5   Lanham Act (15 U.S.C. § 1125(a)), causing Plaintiffs to suffer substantial and
   6   irreparable injury for which it has no adequate remedy at law.
   7         74.    Plaintiffs are informed and believe, and on that basis allege, that
   8   Defendants’ wrongful conduct has permitted or will permit it to make substantial
   9   profits on the strength of Plaintiffs’ marketing, advertising, sales and consumer
  10   recognition. As a direct and proximate result of Defendants’ wrongful conduct, as
  11   alleged herein, Plaintiffs have been and will be deprived of sales of genuine BMW
  12   products in an amount as yet unknown but to be determined at trial, and have been
  13   deprived and will be deprived of the value of their marks as commercial assets in an
  14   amount as yet unknown but to be determined at trial. Plaintiffs seek damages and
  15   an accounting of Defendants’ profits, and requests that the Court grant Plaintiffs
  16   three times that amount in the Court’s discretion.
  17         75.    Plaintiffs are informed and believe, and on that basis allege, that based
  18   on Defendants’ wrongful conduct, Plaintiffs are entitled to injunctive relief as well
  19   as monetary damages, and other remedies as provided by the Lanham Act, including
  20   Defendants’ profits, treble damages, reasonable attorneys’ fees, costs and
  21   prejudgment interest.
  22                              THIRD CAUSE OF ACTION
  23   (Trademark Dilution against Defendants INOVIT INC., WHEELS OUTLET
  24   USA LLC d/b/a INOVIT EAST COAST, YINGSHEN (VICTOR) MAO, and
  25                             DOES 1 through 10, Inclusive)
  26                                   [15 U.S.C. § 1125(c)]
  27         76.    Plaintiffs hereby incorporate by reference each of the other allegations
  28   set forth elsewhere in this Complaint as though fully set forth in this cause of action.
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   1         77.    Plaintiffs’ BMW Trademarks are distinctive, and the BMW Marks are
   2   famous within the meaning of the Lanham Act.
   3         78.    Plaintiffs are informed and believe, and on that basis allege, that
   4   Defendants’ unlawful actions began long after Plaintiffs’ BMW Trademarks became
   5   famous, and Defendants acted knowingly, deliberately and willfully with the intent
   6   to trade on Plaintiffs’ reputation and to dilute Plaintiffs’ BMW Trademarks.
   7   Defendants’ conduct is willful, wanton and egregious.
   8         79.    Plaintiffs are informed and believe, and on that basis allege, that
   9   Defendants’ intentional importation, transportation, sale and/or distribution of fake,
  10   pirated, and counterfeit items bearing Plaintiffs’ BMW Trademarks is likely to cause
  11   confusion, mistake, or to deceive, mislead, betray, and defraud consumers to believe
  12   that the substandard imitations are genuine BMW products. The actions of
  13   Defendants complained of herein have diluted and will continue to dilute the BMW
  14   Trademarks and other marks, and are likely to impair the distinctiveness, strength
  15   and value of Plaintiffs’ BMW Trademarks, and injure the business reputation of
  16   Plaintiffs and their marks.
  17         80.    Plaintiffs are informed and believe, and on that basis allege, that
  18   Defendants’ acts have caused and will continue to cause Plaintiffs irreparable harm.
  19   Plaintiffs have no adequate remedy at law to compensate it fully for the damages
  20   that have been caused and which will continue to be caused by Defendants’ unlawful
  21   acts, unless they are enjoined by this Court.
  22         81.    As the acts alleged herein constitute a willful violation of section 43(c)
  23   of the Lanham Act, 15 U.S.C. section 1125(c), Plaintiffs are informed and believe,
  24   and on that basis allege, that they are entitled to injunctive relief as well as monetary
  25   damages and other remedies provided by 15 U.S.C. §§ 1116, 1117, 1118, and
  26   1125(c), including Defendants’ profits, actual and statutory damages, treble
  27   damages, reasonable attorney’s fees, costs and prejudgment interest.
  28   ///
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   1                            FOURTH CAUSE OF ACTION
   2   (Unlawful, Unfair, Fraudulent Business Practices against Defendants INOVIT
   3        INC., WHEELS OUTLET USA LLC d/b/a INOVIT EAST COAST,
   4         YINGSHEN (VICTOR) MAO, and DOES 1 through 10, Inclusive)
   5                   [California Business & Professions Code § 17200 et seq.]
   6         82.    Plaintiffs hereby incorporate by reference each of the other allegations
   7   set forth elsewhere in this Complaint as though fully set forth in this cause of action.
   8         83.    Plaintiffs are informed and believe, and on that basis allege, that by
   9   marketing, advertising, promoting, selling, importing, transporting, warehousing,
  10   distributing, shipping and/or otherwise dealing in counterfeit BMW products,
  11   Defendants have engaged in unfair competition including unlawful, unfair, and
  12   fraudulent business practices in violation of the California Business and Professions
  13   Code § 17200 et seq.
  14         84.    Plaintiffs are informed and believe, and on that basis allege, that
  15   Defendants’ importation, transportation, sale, distribution, and other dealings in
  16   counterfeit BMW products is in violation and derogation of Plaintiffs’ rights and is
  17   likely to cause confusion, mistake, and deception among consumers and the public
  18   as to the source, origin, sponsorship, or quality of the goods of Defendants, thereby
  19   causing loss, damage and injury to Plaintiffs and to the purchasing public.
  20   Defendants’ conduct was intended to cause such loss, damage and injury.
  21         85.    Plaintiffs are informed and believe, and on that basis allege, that
  22   Defendants knew or by the exercise of reasonable care should have known that their
  23   importation, transportation, marketing, advertising, promoting, selling, and
  24   distribution of counterfeit BMW products would cause confusion mistake or
  25   deception among purchasers, users and the public.
  26         86.    Plaintiffs are informed and believe, and on that basis allege, that by
  27   importing, transporting, marketing, advertising, promoting, selling, distributing,
  28   and/or otherwise dealing in products bearing counterfeit versions of Plaintiffs’
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   1   BMW Trademarks, Defendants intended to, did, and will continue to induce
   2   customers to purchase counterfeit products by trading off the extensive goodwill
   3   built up by Plaintiffs in the BMW Trademarks.
   4           87.   Plaintiffs are informed and believe, and on that basis allege, that the
   5   conduct of Defendants has been knowing, deliberate, willful, intended to cause
   6   confusion, or to cause mistake or to deceive, and in disregard of Plaintiffs’ rights.
   7           88.   Plaintiffs are informed and believe, and on that basis allege, that
   8   Defendants’ wrongful conduct, as alleged above, has permitted and will permit them
   9   to make substantial profits on the strength of Plaintiffs’ nationwide marketing,
  10   advertising, sales and consumer recognition. As a direct and proximate result of
  11   Defendants’ wrongful conduct, as alleged herein, Plaintiffs have been and will be
  12   deprived of substantial sales of their products in an amount as yet unknown but to
  13   be determined at trial, and have been and will be deprived of the value of the BMW
  14   Trademarks as commercial assets, in an amount as yet unknown but to be determined
  15   at trial. Plaintiffs seek restitution in this matter, including an order granting
  16   Defendants’ profits stemming from their infringing activity, and their actual and/or
  17   compensatory damages.
  18           89.   Plaintiffs are informed and believe, and on that basis allege, that
  19   Plaintiffs have no adequate remedy at law for Defendants’ continuing violation of
  20   its rights set forth above. Plaintiffs seek injunctive relief.
  21                               FIFTH CAUSE OF ACTION
  22         (Federal Design Patent Infringement against Defendants INOVIT INC.,
  23    WHEELS OUTLET USA LLC d/b/a INOVIT EAST COAST, YINGSHEN
  24                 (VICTOR) MAO, and DOES 1 through 10, Inclusive)
  25                                         [35 U.S.C. § 271]
  26           90.   Plaintiffs hereby incorporate by reference each of the other allegations
  27   set forth elsewhere in this Complaint as though fully set forth in this cause of action.
  28   ///
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                                  COMPLAINT FOR DAMAGES
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   1         91.    Plaintiffs are the owners of the BMW Design Patents with the USPTO
   2   registration numbers: D696,178; D792,315; D560,585; D758,943; D748,560;
   3   D615,018; D671,473; D686,128; D826,128; D630,564; D661,239; D621,770;
   4   D697,007; and D686,130.
   5         92.    Plaintiffs are informed and believe, and on that basis allege, that
   6   Defendants have infringed and continue to infringe the BMW Design Patents by
   7   using, selling and/or offering to sell, within the United States and/or importing into
   8   the United States, wheels which embody the design covered by Plaintiffs’ patents.
   9         93.    Plaintiffs are informed and believe, and on that basis allege, that
  10   Defendants’ infringing products include all of the ornamental designs of the BMW
  11   Design Patents. By their conduct, Defendants have violated 35 U.S.C. § 271 by
  12   direct infringement of the BMW Design Patents and by inducing others to infringe
  13   the BMW Design Patents.
  14         94.    Plaintiffs are informed and believe, and on that basis allege, that
  15   Defendants have earned profits by virtue of their infringement of the BMW Design
  16   Patents.
  17         95.    Plaintiffs are informed and believe, and on that basis allege, that as a
  18   direct and legal result of Defendants’ wrongful conduct, Plaintiffs have been and
  19   will be irreparably and permanently harmed; wherefore Plaintiffs are without an
  20   adequate remedy at law. Accordingly, Plaintiffs are entitled to, among other things,
  21   an order enjoining and restraining Defendants from further engaging in infringement
  22   of the BMW Design Patents.
  23         96.    Plaintiffs are informed and believe, and on that basis allege, that
  24   Defendants infringement of the BMW Design Patents is and has been willful.
  25   Accordingly, Plaintiffs are entitled to monetary damages, in an amount to be proven
  26   at trial, an award of treble damages, and their reasonable attorneys’ fees and costs.
  27   ///
  28   ///
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   1                              SIXTH CAUSE OF ACTION
   2         (Breach of Settlement Agreement against Defendant INOVIT INC., and
   3                             DOES 1 through 10, Inclusive)
   4           97.   Plaintiffs hereby incorporate by reference each of the other allegations
   5   set forth elsewhere in this Complaint as though fully set forth in this cause of action.
   6           98.   On or about December 31, 2015, Defendant INOVIT entered into a
   7   Settlement Agreement with Plaintiffs.
   8           99.   Defendant INOVIT breached this Agreement with Plaintiffs by: (i)
   9   importing counterfeit labels and emblem into the United States from China bearing
  10   BMW Trademarks on or about October 10, 2018; and (ii) continuing to offer for
  11   sale, sell and distribute infringing replica BMW wheel rims protected by the BMW
  12   Design Patents as discovered by Plaintiffs on or about July 31, 2020.
  13           100. Defendant INOVIT’s willful breach of this Agreement with Plaintiffs
  14   has damaged Plaintiffs entitling them to damages.
  15                                 PRAYER FOR RELIEF
  16           WHEREFORE, Plaintiffs BMW of North America, LLC and Bayerische
  17   Motoren Werke AG pray for judgment against Defendants Inovit Inc., Wheels Outlet
  18   USA LLC d/b/a Inovit East Coast, YingShen (Victor) Mao, and Does 1 through 10,
  19   inclusive, and each of them, as follows:
  20           A.    For an award of Defendants’ profits and Plaintiffs’ damages in an
  21   amount to be proven at trial for trademark infringement under 15 U.S.C. § 1114(a);
  22           B.    For an award of Defendants’ profits and Plaintiffs’ damages in an
  23   amount to be proven at trial for false designation of origin and unfair competition
  24   under 15 U.S.C. § 1125(a);
  25           C.    For treble damages suffered by Plaintiffs as a result of the willful and
  26   intentional infringements and acts of counterfeiting engaged in by Defendants, under
  27   15 U.S.C. § 1117(b);
  28   ///
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   1         D.     For $2,000,000.00 per counterfeit mark, per type of goods imported,
   2   sold, offered for sale, and/or distributed under 15 U.S.C. § 1117(c);
   3         E.     For an award of Defendants’ profits and Plaintiffs’ damages in an
   4   amount to be proven at trial for trademark dilution under 15 U.S.C. § 1125(c);
   5         F.     In the alternative to actual damages and Defendants’ profits for the
   6   infringement and counterfeiting of Plaintiffs’ trademarks pursuant to the Lanham
   7   Act, for statutory damages pursuant to 15 U.S.C. § 1117(c), which election Plaintiffs
   8   will make prior to the rendering of final judgment;
   9         G.     For restitution in an amount to be proven at trial for unfair, fraudulent
  10   and illegal business practices under California Business and Professions Code §
  11   17200;
  12         H.     For an award of Plaintiffs’ damages and Defendants’ profits adequate
  13   to compensate Plaintiffs for Defendants infringement of the BMW Design Patents,
  14   and in no event less than a reasonable royalty for Defendants acts of infringement,
  15   including all pre-judgment and post-judgment interest at the maximum rate
  16   permitted by law;
  17         I.     For an award of all damages, including treble damages based on any
  18   infringement found to have been willful pursuant to 35 U.S.C. § 284, together with
  19   pre-judgment interest;
  20         J.     For an award of all Defendants profits pursuant to 35 U.S.C. § 289,
  21   together with pre-judgment interest;
  22         K.     For damages in an amount to be proven at trial for breach of settlement
  23   agreement by Defendant Inovit Inc.;
  24         L.     For temporary, preliminary and permanent injunctive relief from this
  25   Court prohibiting Defendants from engaging or continuing to engage in the
  26   unlawful, unfair, or fraudulent business acts or practices described herein, including
  27   the advertising and/or dealing in any counterfeit product; the unauthorized use of
  28   any mark or other intellectual property right of Plaintiffs; acts of trademark
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   1   infringement or dilution; false designation of origin; unfair competition; and any
   2   other act in derogation of Plaintiffs’ rights;
   3         M.     For an order from the Court requiring that Defendants provide complete
   4   accountings and for equitable relief, including that Defendants disgorge and return
   5   or pay their ill-gotten gains obtained from the illegal transactions entered into and or
   6   pay restitution, including the amount of monies that should have been paid if
   7   Defendants’ complied with their legal obligations, or as equity requires;
   8         N.     For an order from the Court that an asset freeze or constructive trust be
   9   imposed over all monies and profits in Defendants’ possession which rightfully
  10   belong to Plaintiffs;
  11         O.     For destruction of the infringing/counterfeit articles in Defendants’
  12   possession under 15 U.S.C. § 1118;
  13         P.     For damages in an amount to be proven at trial for unjust enrichment;
  14         Q.     For an award of exemplary or punitive damages in an amount to be
  15   determined by the Court;
  16         R.     For Plaintiffs’ reasonable attorney’s fees;
  17         S.     For all costs of suit; and
  18         T.     For such other and further relief as the Court may deem just and
  19   equitable.
  20   DATED: September 22, 2020                 JOHNSON & PHAM, LLP
  21
                                                 By: /s/ Marcus F. Chaney
  22                                             Christopher D. Johnson, Esq.
  23                                             Christopher Q. Pham, Esq.
                                                 Marcus F. Chaney, Esq.
  24                                             Attorneys for Plaintiffs
  25                                             BMW OF NORTH AMERICA, LLC and
                                                 BAYERISCHE MOTOREN WERKE AG
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                                  COMPLAINT FOR DAMAGES
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   1                           DEMAND FOR JURY TRIAL
   2         Plaintiffs BMW of North America, LLC and Bayerische Motoren Werke AG
   3   respectfully demand a trial by jury in this action pursuant Rule 38 of the Federal
   4   Rules of Civil Procedure and Local Rule 38-1.
   5
   6   DATED: September 22, 2020             JOHNSON & PHAM, LLP
   7
                                             By: /s/ Marcus F. Chaney
   8                                         Christopher D. Johnson, Esq.
   9                                         Christopher Q. Pham, Esq.
                                             Marcus F. Chaney, Esq.
  10                                         Attorneys for Plaintiffs
  11                                         BMW OF NORTH AMERICA, LLC and
                                             BAYERISCHE MOTOREN WERKE AG
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                                COMPLAINT FOR DAMAGES
